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                             No. 23-1736

In the United States Court of Appeals for the Sixth Circuit
                MACKINAC CENTER FOR PUBLIC POLICY

                                  AND

                          CATO INSTITUTE,
                          Plaintiffs-Appellants,

                                   v.

                       MIGUEL CARDONA, et al.,
                         Defendants-Appellees.
                         ______________
            On Appeal from the United States District Court
                 for the Eastern District of Michigan


             PLAINTIFFS-APPELLANTS’ PETITION
                 FOR REHEARING EN BANC
                       ______________

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                           RULE 35(b)(1) STATEMENT

      This petition presents a question of national importance: Whether public-service

employers, like the Plaintiffs in this case, have standing to challenge a federal agency’s

program that shifts tens of billions of dollars in student-loan debt from borrowers who

benefitted from those loans to their fellow taxpayers who didn’t, without statutory

authority from Congress, thereby negating a key competitive recruiting advantage that

Congress deliberately gave public-service employers through the Public Service Loan

Forgiveness (“PSLF”) program. The Panel Opinion (attached as Exhibit A) denying

standing conflicts with this Court’s precedent holding that “economic disadvantage”

caused by government action is sufficient to establish competitor standing. Sw. Pa.

Growth Alliance v. Browner, 144 F.3d 984, 988–89 (6th Cir. 1998) (“Growth Alliance”).

      The Panel ruling also conflicts with decisions of the Supreme Court and this

Court—including Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) and DirecTV, Inc. v. Treesh,

487 F.3d 471, 476 (6th Cir. 2007)—by not crediting Plaintiffs’ uncontroverted

allegations that they compete against for-profit employers in the labor market, Op. at

12, that the challenged agency action reduces the number of monthly payments affected

student-loan borrowers must make to have their loans forgiven under PSLF, id. at 13,

and thus that the agency action undermines Plaintiffs’ PSLF recruiting advantage by

predictably accelerating how soon employees participating in the program could leave

public-service employment and still have the remainder of their student-loan debt

forgiven. These allegations were key to Plaintiffs’ standing and should have been

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accepted as true, with all reasonable inferences drawn in Plaintiffs’ favor, at this initial

stage of the case.

       En banc review is therefore warranted.




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         STATEMENT OF ISSUES MERITING EN BANC REVIEW
1. Whether the Panel improperly departed from precedent by holding that “economic
   disadvantage” is insufficient to establish competitor standing.

2. Whether the Panel improperly excluded competitor standing in cases where the
   government acts on third-party borrowers who do not compete with Plaintiffs.

3. Whether the Panel failed to draw inferences in Plaintiffs’ favor and to credit
   allegations in the Complaint that supported competitor standing.

       STATEMENT OF FACTS AND DISPOSITION OF THE CASE
      The Mackinac Center for Public Policy and Cato Institute (collectively

“Plaintiffs”) are public-service employers that benefit from PSLF in their recruitment

and retention of college-educated workers. Congress created PSLF through the College

Cost Reduction and Access Act of 2007 to “encourage individuals to enter and continue

in full-time public service employment[.]” 34 C.F.R. § 685.219(a). PSLF does this by

forgiving student-loan debt owed to the Treasury, but only if a borrower: (1) makes 120

monthly payments on an eligible loan under a qualifying repayment plan; (2) was

employed full-time in a qualifying “public service job” when making each of the 120

payments; and (3) is still in public-service employment at the time of forgiveness. 20

U.S.C. § 1087e(m)(1); 34 C.F.R. § 685.219(c). Borrowers thus must work in a public-

service job for 120 months and make a qualifying payment in each of those months to

receive forgiveness. A public-service job includes, among other things, working for

§ 501(c)(3) nonprofit organizations like Plaintiffs. 20 U.S.C. § 1087e(m)(3)(B)(i).




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        The Department of Education (“Department”) alleged that loan servicers had

improperly steered borrowers into excessive periods of forbearance. Press Release, U.S.

Dep’t of Educ., Department of Education Announces Actions to Fix Longstanding Failures in the

Student Loan Programs (Apr. 19, 2022).1 Borrowers make no qualifying payments during

periods of forbearance, and Congress did not design the PSLF to count those periods

toward the 120-month payment-and-service requirement. Instead of asking Congress

to address this issue through legislation, the Department acted unilaterally through a

mere press release in April 2022 to make “a one-time account adjustment that will count

forbearances of more than 12 months consecutive and more than 36 months

cumulative toward forgiveness under … PSLF.” Id. The Department would also count

long-term forbearance as qualifying payments under income-driven repayment (IDR)

plans. Id. 2

        According to the April 2022 press release, the Department declared 40,000 PSLF

participants immediately eligible for debt cancellation because counting forbearance as

qualifying payments allowed those borrowers to satisfy their 120-monthly-payment



1
 https://www.ed.gov/news/press-releases/department-education-announces-
actions-fix-longstanding-failures-student-loan-programs (last visited July 1, 2024).
2
  Under IDR, a borrower’s debt will be forgiven after he or she makes a requisite
number of qualifying payments. There are different IDR plans, each with specific
monthly repayment amounts based on borrowers’ income. See 34 C.F.R.
§§ 685.209(a)–(c), 685.221. Monthly payments under qualifying IDR plans count toward
PSLF’s 120-monthly-payment requirement.


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requirement. Id. Several thousand other borrowers likewise had their outstanding loan-

payment obligations cancelled by administrative fiat under IDR in defiance of the

design erected by Congress. Id. Affected borrowers whose loans were not immediately

cancelled had past periods of forbearance—during which they made no payments—

credited as payments toward PSLF’s and IDR’s monthly-payment requirements. This

means their loans will be forgiven sooner than would occur otherwise and their balances

dumped on taxpayers—without ever having to meet the minimum requirements

Congress demanded in those laws. The Department estimated that “[m]ore than 3.6

million borrowers will … receive at least three years of additional credit toward IDR

forgiveness” but did not provide a similar estimate for PSLF. Id.

       In July 2023, the Department announced it would saddle taxpayers with an

additional $39 billion under the “one-time” account adjustment (hereinafter “One-Time

Adjustment”) to bail out 804,000 more borrowers.3 These borrowers were not eligible

for this debt relief under the governing statutes. Only by counting non-payments (during

long-term forbearance) as qualifying payments did they become eligible.

       Plaintiffs filed suit challenging the One-Time Adjustment in August 2023.

Plaintiffs are public-service employers that benefit from PSLF because they “have


3
  Press Release, U.S. Dep’t of Educ., Biden-Harris Administration to Provide 804,000
Borrowers with $39 Billion in Automatic Loan Forgiveness as a Result of Fixes to Income Driven
Repayment Plans (July 14, 2023), available at: https://www.ed.gov/news/press-
releases/biden-harris-administration-provide-804000-borrowers-39-billion-automatic-
loan-forgiveness-result-fixes-income-driven-repayment-plans (last visited July 1, 2024).


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previously employed, and currently employ, borrowers who participate, … in the

statutory PSLF program” and “expect to recruit other such employees in the future.”

R.1, PageID 11. While the One-Time Adjustment has several elements, Plaintiffs

challenge only the fictive counting of non-payments as monthly payments on the

ground that it prevents “the full statutory benefit to which they are entitled under

PSLF.” Id. at 13. Plaintiffs allege that the One-Time Adjustment violates the

Department’s statutory authority, the Appropriations Clause of Article I of the U.S.

Constitution, and the Administrative Procedure Act. Id. at 15 to 20.

       The district court summarily dismissed the complaint without prejudice

complaint for lack of standing. R.13. Plaintiffs appealed. During the pendency of the

appeal, the Department cancelled billions more dollars in student-loan debt owed by

hundreds of thousands of PSLF borrowers. Press Release, U.S. Dep’t of Educ., Biden-

Harris Administration Approves Additional $5.8 Billion in Student Debt Relief for 78,000 Public

Service Workers (Mar. 21, 2024); Press Release, U.S. Dep’t of Educ., Biden-Harris

Administration Announces Additional $4.9 Billion in Approved Student Debt Relief (Jan. 19,

2024) (cancelling “$3.2 billion for 43,900 borrowers through PSLF”); Press Release,

U.S. Dep’t of Educ., Biden-Harris Administration Announces Nearly $5 billion in Additional

Student Debt Relief (Dec. 6, 2023) (cancelling “$2.6 billion for 34,400 borrowers through

PSLF.”); Press Release, U.S. Dep’t of Educ., Biden-Harris Administration Announces an

Additional $9 Billion in Student Debt Relief (Oct. 4, 2023) (cancelling “$5.2 billion in

additional debt relief for 53,000 borrowers under [PSLF] programs.”). Many of these

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cancellations “stem from fixes,” including the One-Time Adjustment, made to PSLF

and IDR. See Dec. 6, 2023 Press Release.

       On May 17, the Panel (Judges Siler, Cole, and Mathis) affirmed the dismissal of

Plaintiffs’ Complaint for lack of standing. The Panel held that Plaintiffs did not establish

competitor standing, which it said is not met by “[e]conomic disadvantage alone.” Op.

at 12. The Panel also deemed Plaintiffs’ competitor standing too speculative because

the One-Time Adjustment does not directly affect Plaintiffs’ for-profit competitors but

rather “benefits third parties—student-loan borrowers—who are not in competition

with public service or private employers.” Id. at 9, 15. The Panel refused to credit

Plaintiffs’ allegation that they compete in the labor market against for-profit employers.

Id. at 11. It also erroneously found that borrowers affected by the One-Time

Adjustment “must still make 120 payments” to receive PSLF forgiveness, id. at 13, even

though the entire point of the One-Time Adjustment is to reduce the number of

required payments by counting non-payments as payments. The Panel also rejected

Plaintiffs’ theory of procedural standing to object to the press release nature of these

policy changes done entirely without regard to notice-and-comment rulemaking

requirements, holding that public-service employers lack a “concrete interest” in the

effect of the One-Time Adjustment on financial incentives under PSLF to work for

public-service employers. Id. at 16–17.

       For the reasons stated below, the Court should grant this petition for en banc

review.

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                 REASONS FOR GRANTING THE PETITION
I.     THE PANEL HELD ‘ECONOMIC DISADVANTAGE’ INSUFFICIENT
       FOR COMPETITOR STANDING IN DISREGARD OF PRECEDENT

       This Court’s precedent holds that competitor standing exists where government

action puts a plaintiff in a position of “economic disadvantage” compared to its

competitors. Growth Alliance, 144 F.3d at 988–89. The Panel explicitly departed from

this precedent, citing Already, LLC v. Nike, Inc., 568 U.S. 85, 99 (2013), to assert that

“[e]conomic disadvantage alone is not enough,” Op. at 12. En banc review is needed to

determine whether Already overruled or otherwise limited Growth Alliance. See Fed. R.

App. P. 35(b)(1).

       “[G]overnmental actions that alter competitive conditions [are] sufficient to

satisfy the Article III ‘injury-in-fact’ requirement.” Clinton v. City of New York, 524 U.S.

417, 433 (1998) (cleaned up). Under the competitive standing doctrine, an injury-in-fact

occurs when a company’s “position in the relevant marketplace would be affected

adversely by the challenged governmental action.” Adams v. Watson, 10 F.3d 915, 922

(1st Cir. 1993); accord Sherley v. Sebelius, 610 F.3d 69, 73 (D.C. Cir. 2010); Can. Lumber

Trade All. v. United States, 517 F.3d 1319, 1332 (Fed. Cir. 2008). There is no need to link

the challenged action to “to specific, demonstrated economic harms,” and plaintiffs

may “fairly employ economic logic” to establish competitive harm. Can. Lumber, 517

F.3d at 1332–33.




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      A plaintiff may establish competitor standing in this Court by linking

government action to “economic disadvantage.” Growth Alliance, 144 F.3d at 988. In

Growth Alliance, an association representing Pennsylvanian manufacturers challenged

agency action that lowered environmental compliance costs for firms in Ohio. This

Court held that the association had competitor standing because reduced costs gave

Ohio firms “an economic advantage over [their] neighbors in southwestern

Pennsylvania,” which necessarily means each Pennsylvania firm “suffers an economic

disadvantage compared to its Ohio neighbor.” Id. There was no need for the

Pennsylvania manufacturers to link the Ohio manufacturers’ reduced environmental

costs to tangible economic injury, such as lost sales or revenue for a specific

Pennsylvania firm. It was enough to link the agency designation to reduced compliance

costs for Ohio firms, which placed each Pennsylvania firm at a relative economic

disadvantage. Id. Nor did the Pennsylvania manufacturers need to identify specific Ohio

firms against which they competed; the court accepted the Pennsylvania manufacturers’

allegations of such competition as true. Id. At bottom, linking government action to

“economic disadvantage,” by itself, was enough to confer competitor standing.

      Under Growth Alliance, Plaintiffs need not link the One-Time Adjustment to

specific loss, such as the effect on a specific current or prospective employee. Rather,

what is needed is linking the One-Time Adjustment to “economic disadvantage,” i.e.,

reduced competitive benefits for public-service employers due to the One-Time

Adjustment to PSLF. Plaintiffs satisfy that requirement because the Adjustment

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prematurely cancels the debt of affected borrowers, transferring their payment

obligation to taxpayers to an extent Congress never authorized, thereby reducing their

PSLF incentive to take public-service jobs and making jobs in the for-profit sector

relatively more attractive. Consider an affected borrower who reaches PSLF’s 120

monthly-payment requirement by having 36 months of nonpayment during

forbearance counted as payments. But for that One-Time Adjustment, the borrower

would have a significant financial incentive under PSLF to work in a public-service job

while making qualifying payments for another 36 months. Because of the Adjustment,

the borrower’s loan balance is cancelled regardless of where he or she works, including

at a for-profit company that competes with public-service employers in the labor

market. This reduction in the financial incentive to work in a public-service job is

multiplied by millions of borrowers affected by the unlawful debt forgiveness policy

and constitutes an “economic disadvantage” for public-service employers, which

suffices to establish competitor standing under Growth Alliance, 144 F.3d at 988–89.

      The Panel, however, relied on Already to conclude that “[e]conomic disadvantage

alone is not enough” for competitor standing. Op. at 12. It insisted that Plaintiffs plead

additional facts regarding specific losses that were not needed in Growth Alliance,

including the identities of their for-profit competitors and “any current employee that

has received credit under the adjustment” or “have stopped working for them.” Id. at

10. This departure from Growth Alliance is wrong because Already did not require more

than economic disadvantage to establish competitor standing. Rather, it held that a

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government-conferred benefit on a competitor was not enough for competitor standing

when it does not impose any disadvantage on the plaintiff. In Already, 568 U.S. at 88,

Nike filed a trademark infringement action against Already, which counterclaimed to

invalidate Nike’s trademark. Nike mooted that counterclaim with a covenant not to

enforce the trademark against Already, and Already sought to continue the counterclaim

by asserting competitor standing based on Nike’s receiving the benefits of an unlawful

trademark. Id. at 89. The Court rejected that “boundless theory,” explaining that, even

if the trademark gave Nike an economic benefit, it did not place Already at any

disadvantage because the covenant allowed Already to use the mark. Id.

      If anything, Already reinforces Growth Alliance’s use of economic disadvantage as

the lodestar for competitor standing. En banc review is needed to correct the Panel’s

error and reaffirm that linking government action to economic disadvantage is enough

to establish competitor standing under this Court’s precedent.

II.   THE PANEL IMPROPERLY LIMITED COMPETITOR STANDING IN
      CASES WHERE THE GOVERNMENT ACTS ON THIRD PARTIES
      The Panel compounded its error by holding that competitor standing does not

exist here because the One-Time Adjustment is directed only at third-party borrower-

employees rather than at the for-profit employers against whom Plaintiffs compete in

the labor market. Op. at 15; see also id. at 9 (“the adjustment benefits third parties—

student-loan borrowers—who are not in competition with public service or private

employers.”); id. at 11 (“The financial benefit goes to the student-loan borrowers.”); id.



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at 12 (“the adjustment has nothing to do with … private employers”). This is an issue

of exceptional importance that calls for correction through en banc review. If left to

stand, the Panel decision would prevent judicial review of any unlawful government

action that imposes economic disadvantage, as long as it strategically does so only

through third parties, such as competitors’ employees, customers, or suppliers.

      There is no reason to deny an injured competitor’s standing whenever the

government inflicts the injury through third parties because Plaintiffs may rely on “the

predictable effect of Government action on the decisions of third parties” to establish

standing. Dep’t of Commerce v. New York, 588 U.S. 752, 768 (2019). Standing in Department

of Commerce was based upon the State’s predicting that a census question about

citizenship would discourage some third-party noncitizens from completing the form,

which it asserted leads to undercounting that could contribute to the loss of a House seat

or federal funds. Id. at 766–67. Here, the One-Time Adjustment prematurely forgives

and will continue to forgive the federal student debt of countless third-party borrowers,

who will no longer have any financial incentive under PSLF to seek (or stay in)

employment with public-service employers like Plaintiffs. It is hardly speculative to

conclude that reducing financial incentives to work in a public-service job will

discourage some affected borrowers from those jobs. For-profit jobs become

comparatively more attractive, which benefits Plaintiffs’ for-profit competitors in the

labor market to their own economic disadvantage, thereby negating the loan-

forgiveness benefit Congress legislated through the PSLF. Economic logic entails that

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such economic disadvantage contributes to higher labor costs for public-service

employers.

        Put another way, affected borrowers who receive accelerated forgiveness may

now work for for-profit employers while still retaining PSLF benefits. The One-Time

Adjustment thus allows for-profit employers to benefit from PSLF’s wage subsidy,

thereby increasing “price competition” for labor, which the Panel recognizes is a basis

for competitor standing. See Op. at 9.

        The Panel’s distinction between borrower-employees and employers ignores the

economic logic upon which the competitor standing doctrine is based. It does not

matter whether government action directly affects buyers or sellers, or employers or

employees. The economic effect is the same because the PSLF financial subsidy to

employees is necessarily shared with employers in the form of lower labor costs—and

vice versa.4

        For instance, while federal statutory tax credits for purchasing electric vehicles

go to consumers rather than manufacturers, see 26 U.S.C. § 30D, they clearly benefit

manufacturers by making their products more attractive than non-electric vehicles. If

the government acted unlawfully to extend that tax credit to subsidize purchases of

non-electric vehicles too, electric-vehicle manufacturers would plainly suffer


4
      See    Subsidies,  LEARN     ECON.,       available    at     https://www.learn-
economics.co.uk/Subsidies.html (last visited June 29, 2024) ( “the benefit of [a] subsidy
is distributed between consumers and producers”).


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competitive disadvantage and yet would lack standing to sue under the Panel’s

reasoning.

      This logic does not change when it comes to the labor market. Consider the facts

in Growth Alliance, but instead of reducing environmental compliance costs, suppose a

federal agency subsidized employees of Ohio firms by paying off their consumer debt.

This would allow Ohio firms to attract workers by offering lower wages than

Pennsylvania firms across the border. Pennsylvania firms are placed in a position of

economic disadvantage in the competition for workers. Again, the Panel decision would

deny competitor standing simply because the debt cancellation directly benefits debtors

“who are not in competition with [Pennsylvania] or [Ohio] employers.” Op. at 9.

      The Panel’s error has wide-ranging ramifications. This Court has warned that

“the absence of competitor standing may render some agency actions effectively

immune from judicial review.” Dismas Charities, Inc. v. U.S. Dep’t of Just., 401 F.3d 666,

677 (6th Cir. 2005). The Panel’s reasoning here would make judicial review effectively

unavailable where the government indirectly confers unlawful benefits on a plaintiff’s

competitors. Federal agencies would have free rein to inflict competitive injury. All they

need to do is provide benefits to a competitor’s employees, customers, or suppliers,

instead of directly to the competitor itself. En banc review is needed to prevent the

competitor standing doctrine from being improperly gutted.




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III.   THE PANEL FAILED TO DRAW INFERENCES IN PLAINTIFFS’
       FAVOR AND TO CREDIT ALLEGATIONS THAT SUPPORT
       COMPETITOR STANDING
       Finally, the Panel’s determination that Plaintiffs lacked competitor standing was

predicated on the wrong standard of review and an erroneous rejection of the

unchallenged allegations contained in Plaintiffs’ complaint.

       To avoid dismissal, a complaint must plead factual matter which, accepted as

true, “state[s] a claim to relief that is plausible on its face” and allows the court to draw

the reasonable inference that the defendant is liable for the misconduct alleged. Iqbal,

556 U.S. at 678. Courts must “construe the complaint in the light most favorable to the

plaintiff, accept its allegations as true, and draw all reasonable inferences in favor of the

plaintiff.” DirecTV, 487 F.3d at 476. The same standard applies to dismissals for lack of

standing. See Warth v. Seldin, 422 U.S. 490, 501 (1975).

       The Panel, however, repeatedly refused to accept Plaintiffs’ well-pleaded

allegations and drew inferences against them. To start, the Panel denied competitor

standing because “Plaintiffs have not established the markets in which they or their

competitors operate.” Op. at 11; see also id. at 12. But Plaintiffs alleged that they compete

in the labor market to recruit and retain college-educated employees, R.1 PageID 3, 11,

against, inter alia, “non-qualifying employers in the private sector,” id. at 12. This

allegation is well-pleaded, uncontroverted, and not conclusory. The existence of labor-

market competition between public-service employers and for-profit companies

undergirds the entire PSLF program’s design. After all, the promise of loan forgiveness

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under PSLF can “encourage individuals to enter and continue in full-time public service

employment[,]” 34 C.F.R. § 685.219(a), and that is true only if public-service and for-

profit employers compete for those same individuals.

       A single competitor is sufficient for competitor standing. See, e.g., U.S. Telecom

Ass’n v. FCC, 295 F.3d 1326, 1331 (D.C. Cir. 2002). And such standing can be based on

a category of unidentified competitors. See, e.g., Growth Alliance, 144 F.3d at 988–89. No

leap of faith is required to conclude that Plaintiffs—national and regional think tanks—

compete in the market to recruit and retain college-educated workers against at least

some for-profit employers. The Panel’s rejection of that uncontroversial and indisputable

allegation neglected to “construe the complaint in the light most favorable to the

plaintiff, accept its allegations as true, and draw all reasonable inferences in favor of the

plaintiff.” DirecTV, 487 F.3d at 476.

       Next, the Panel concluded that “Plaintiffs’ complaint does not explain how the

adjustment reduces the financial incentive for borrowers to remain in public service

jobs.” Op. at 10. This ignores the Complaint’s explanation that the One-Time

Adjustment prematurely cancels the debt of affected borrowers by counting at least 36

months of forbearance—when no payments were made—toward PSLF’s 120 monthly-

payment requirement. R.1 PageID12–13. An affected borrower whose debt is

prematurely cancelled in this way has zero financial incentive under PSLF to work in a

public-service job. Id. By contrast, without the One-Time Adjustment, the borrower

would have a financial incentive under PSLF to work in a public-service job while

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making qualifying monthly payments for many more months. Id. at 12. The Complaint

further explained that affected borrowers whose loans have not yet been outright

cancelled by the One-Time Adjustment need to make 36 fewer monthly payments while

working in public-service jobs before having their loans cancelled and their payment

obligations billed to their fellow taxpayers. Id. That means they are incentivized by PSLF

to work in public service for 36 fewer months than Congress required—solely because

of the One-Time Adjustment.

      The Panel improperly rejected Plaintiffs’ well-pleaded explanation of harm,

concluding that affected borrowers “must still make 120 payments, all of which must

come during a period of public service employment.” Op. at 13 (citing Department’s

website). The Panel effectively decided the merits of the case by concluding that

crediting non-payments does not reduce the statutorily required number of qualifying

monthly payments an affected borrower must make. This conclusion is also erroneous

because the whole point of the One-Time Adjustment is to obviate the need for affected

borrowers to make their full 120 qualifying payments by “count[ing] forbearances of

more than 12 months consecutive and more than 36 months cumulative toward

forgiveness under … PSLF.” April 2022 Press Release, Supra p.2. For example, the

One-Time Adjustment allows public-service-employed student-loan debtors who made

no payments during some 36-month period of forbearance to exit public service after

10 years of service even if they had made their qualifying payments for only seven years.

Without the One-Time Adjustment, even though they had met the 120-month service

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obligation, they would still need to stay in a public-service job for another three years—

that is, to meet the number of service years Congress legislated when it established the

PSLF. The Panel’s refusal to credit Plaintiffs’ well-pleaded allegation that affected

borrowers must now make fewer total monthly payments is clearly erroneous and

demonstrates that the Panel decision was decided based on the wrong dismissal

standard.

      The proper standard of review for dismissal based on lack of standing is an issue

of exceptional importance that is needed to maintain uniformity in this Court’s

decisions. See Fed. R. App. P. 35(b). En banc review is needed to correct the Panel’s

departure from that standard.

                                   CONCLUSION
      The Court should grant Plaintiffs’ petition for en banc rehearing.

July 1, 2024                             Respectfully submitted,

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      I hereby certify that on July 1, 2024, an electronic copy of the foregoing brief

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